      Case 4:20-cv-05640-YGR Document 158 Filed 11/13/20 Page 1 of 5



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26   [Additional counsel appear on signature pages]
27

28
        JOINT STATEMENT REGARDING VALIDATION OF DOCUMENT PRODUCTIONS
             Case Nos.: 4:11-cv-06714-YGR; 4:19-cv-03074-YGR; 4:20-cv-05640-YGR
      Case 4:20-cv-05640-YGR Document 158 Filed 11/13/20 Page 2 of 5



 1                             UNITED STATES DISTRICT COURT

 2                            NORTHERN DISTRICT OF CALIFORNIA

 3                                   OAKLAND DIVISION

 4
     EPIC GAMES, INC.,                              Case No. 4:20-cv-05640-YGR
 5
                   Plaintiff, Counter-defendant,
 6

 7                       v.

 8
     APPLE INC.,
 9
                   Defendant, Counterclaimant.
10

11
     IN RE APPLE IPHONE ANTITRUST                   Case No. 4:11-cv-06714-YGR
12   LITIGATION

13

14

15
     DONALD R. CAMERON, et al.,                     Case No. 4:19-cv-03074-YGR
16

17                                    Plaintiffs,
                                                    JOINT STATEMENT REGARDING
18                                                  VALIDATION OF DOCUMENT
                         v.                         PRODUCTIONS
19
                                                    Judge: Hon. Yvonne Gonzalez Rogers
20   APPLE INC.,

21
                                     Defendant.
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       JOINT STATEMENT REGARDING VALIDATION OF DOCUMENT PRODUCTIONS
            Case Nos.: 4:11-cv-06714-YGR; 4:19-cv-03074-YGR; 4:20-cv-05640-YGR
       Case 4:20-cv-05640-YGR Document 158 Filed 11/13/20 Page 3 of 5



 1                  Joint Statement: In connection with negotiations concerning a draft protocol to

 2   govern discovery of electronically stored information in the above-captioned actions, Plaintiffs

 3   and Defendant Apple Inc. (“Apple”) (collectively, “the Parties”) filed with the Court a joint

 4   statement on October 26, 2020, stating in part that the Parties continued to meet and confer

 5   regarding validation procedures to test the sufficiency and accuracy of the Parties’ productions.

 6   The Parties stated that they had agreed to either (i) reach agreement on validation procedures by

 7   November 9, 2020, or (ii) if the Parties cannot reach agreement, submit any outstanding issues in a

 8   joint statement to Magistrate Judge Hixson by November 9, 2020.

 9                  On November 9, 2020, the Parties filed with the Court a joint statement, stating that

10   the Parties had agreed to continue negotiations and either (i) reach agreement on validation

11   procedures by November 13, 2020, or (ii) if the Parties cannot reach agreement, submit any

12   outstanding issues in a joint statement to Magistrate Judge Hixson by November 13, 2020.

13                  The Parties have continued to negotiate and have made additional progress but

14   have not yet reached agreement on validation procedures. The Parties have agreed to extend the

15   deadline for submission of an agreement or dispute to November 20, 2020 at 5:00 p.m. Pacific

16   Time.

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         JOINT STATEMENT REGARDING VALIDATION OF DOCUMENT PRODUCTIONS
              Case Nos.: 4:11-cv-06714-YGR; 4:19-cv-03074-YGR; 4:20-cv-05640-YGR
      Case 4:20-cv-05640-YGR Document 158 Filed 11/13/20 Page 4 of 5


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                                        Katherine B. Forrest
 2                                      Gary A. Bornstein
                                        Yonatan Even
 3                                      Lauren A. Moskowitz
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 5                                    Respectfully submitted,
 6                                    By:    /s/ Yonatan Even
                                             Yonatan Even
 7
                                            Attorneys for Plaintiff Epic Games, Inc.
 8

 9   Dated: November 13, 2020         WOLF HALDENSTEIN ADLER FREEMAN &
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                                        Rachele R. Byrd
11                                      Matthew M. Guiney
                                        Brittany N. DeJong
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13                                    Respectfully submitted,
14                                    By:    /s/ Rachele R. Byrd
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21                                    Respectfully submitted,
22                                    By:    /s/ Robert F. Lopez
                                             Robert F. Lopez
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24                                          Plaintiffs
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       JOINT STATEMENT REGARDING VALIDATION OF DOCUMENT PRODUCTIONS
            Case Nos.: 4:11-cv-06714-YGR; 4:19-cv-03074-YGR; 4:20-cv-05640-YGR
       Case 4:20-cv-05640-YGR Document 158 Filed 11/13/20 Page 5 of 5


      Dated: November 13, 2020                     GIBSON, DUNN & CRUTCHER LLP
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                                                      Mark A. Perry
 3                                                    Veronica S. Lewis
                                                      Cynthia E. Richman
 4                                                    Jay P. Srinivasan
                                                      Ethan D. Dettmer
 5                                                    Eli M. Lazarus
                                                      Harry Phillips
 6

 7                                                 Respectfully submitted,
 8                                                 By:    /s/ Jay P. Srinivasan
                                                          Jay P. Srinivasan
 9
                                                         Attorneys for Defendant Apple Inc.
10

11

12                                      E-FILING ATTESTATION

13                  I, Jay P. Srinivasan, am the ECF User whose ID and password are being used to file

14   this document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the

15   signatories identified above has concurred in this filing.

16
                                                                   /s/ Jay P. Srinivasan
17
                                                                  Jay P. Srinivasan
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         JOINT STATEMENT REGARDING VALIDATION OF DOCUMENT PRODUCTIONS
              Case Nos.: 4:11-cv-06714-YGR; 4:19-cv-03074-YGR; 4:20-cv-05640-YGR
